                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                                )
                                                        )
                                                        )
v.                                                      )       Criminal No. 3:13-00012
                                                        )       Judge Trauger
[2] BRENDA ELISE EDWARDS, a/k/a                         )
    Brenda Medina Segura                                )

                                              ORDER

         The defendant’s Motion For Review of Detention By Magistrate Judge And Motion For

Hearing And Release (Docket No. 28) is set for hearing on Wednesday, April 10, 2013, at 2:00

p.m. It is further ORDERED that government counsel shall secure a copy of the transcript of

the detention hearing before Magistrate Judge Ormsby in the Southern District of Texas and file

it in the record of this case for the use of all parties as soon as possible.

         It is so ORDERED.

         ENTER this 26th day of March 2013.


                                                        ________________________________
                                                              ALETA A. TRAUGER
                                                                U.S. District Judge




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